    Case 4:23-cr-00218           Document 26             Filed on 09/06/23 in TXSD          Page 1 of 1
                                                                                              United States District Court
                                                                                                Southern District of Texas

                                                                                                   ENTERED
UNITED STATES DISTRICT COURT                                         SOUTHERN DISTRICTSeptember
                                                                                       OF TEXAS06, 2023
                                                                                                Nathan Ochsner, Clerk

                   Motion and Order for Admission Pro Hac Vice

      Division         Houston                               Case Number              4:23-cr-218
                                          United States of America


                                                    versus
              (1) Hardik Jayantilal Patel, aka Erik aka Mitsh aka Nick aka Dev., and
                                (2) Dhirenkumar Vishnubhai Patel


           Lawyer’s Name                  Steven A. Block
                Firm                      Holland & Knight LLP
                Street                    150 N. Riverside Plaza
          City & Zip Code                 27th Floor
         Telephone & Email                Chicago, IL 60606
      Licensed: State & Number            Illinois
       Federal Bar & Number               ARDC#6269433


 Name of party applicant seeks to           Hardik Jayantilal Patel, aka Erik aka Mitsh aka Nick aka
 appear for:                                                           Dev


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:                         Signed:                             Steven A. Block
              8/22/2023



 The state bar reports that the applicant’s status is:     Active

 Dated: 09/06/2023              Clerk’s signature



               Order
                                                    This lawyer is admitted pro hac vice.

Dated:       September 06, 2023
                                                             United States District Judge
